Ey bt ~€ Case 5:23-cv-00544-R Document1-5 | Filed 06/20/23 Page1ofi1

Grievance No.: 14-58

_ INMATE/RESIDENT GRIEVANCE
FULLNAME: |(M Kristich

NUMBER: A41¢ 105 | |Housine assianment: | Ft/) ~Qo¢¢

INFORMAL RESOLUTION ATTACHED (Not required for an emergency grievance)? ([(] YES MW NO
GRIEVANCE CATEGORY (CIRCLE ONE):

1. Facility Staff 8. Dental Services 15. Housing _
= Access to Legal Materiais 9. Mental Health Services 16. Laundry
. Denied Access to Informal Resolution/Grievance 10. Trust Account 17. Recreation
Process
4. Reprisal for Using Informal Resolution/Grievance 11. Commissary 18. Visitation
Process
5. Safety/Security 12. Food Service 19, Programs-education, work, religious, etc.
6. Sanitation 13. Mail 20. Violations of federal or state regulations,
laws, court decisions (i.e. ADA or
Constitutional rights)
7. Medical Services X 14. intake 21. Other

STATE GRIEVANCE: (include documentation, witnesses, date of incident, and any other information pertaining to the
grievance subject. Attach additional pages if necessary).

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|Requested Action: (Attach additional pages if necessary)

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inmate/Resident's Signature: CR [2A Date Submitted: [ ~~ 4 2022.

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